 1   Andrew J. Christensen (SBN: 260748)
     Attorney at Law
 2   1970 Broadway, Suite 550
     Oakland, CA 94612
 3   Tel: (510) 761-7183
     Fax: (510) 680-3430
 4   Andrew@CaliforniaHomeLawyer.com
 5   Attorney for Plaintiffs
     Bosco Kante and Maya Kante
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10                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF CALIFORNIA
11
12   In the Matter of:
                                                      Bankruptcy Case No. 12-49009 WJL 7
13   Rosemary Greene
                                                      Chapter 7
14                         Debtor
15
                                                      Adversary Case No: 18-40285
16   Bosco Kante and Maya Kante

17                         Plaintiff Creditors        Certificate of Service
     v.
18
     Rosemary Greene
19                         Defendant Debtor.

20
            I declare as follows: I am employed in the County of Alameda. I am over the age of
21
     eighteen years and not a party to the above referenced case. My business address is 1970
22
     Broadway, Suite 550, Oakland CA 94612.           On April 24, 2018 I served the following
23
     documents on the parties listed below by email. Cathleen Moran as Counsel for Defendant
24
     Rosemary Green confirmed to me in writing that she would accept service of this complaint
25
     by email on behalf of the Defendant.
26
               Summons and Notice of Scheduling Conference in Adversary Proceeding,
27
               Complaint Seeking Declaratory Relief in Core Adversary Proceeding
28
               Order RE: Initial Disclosures and Discovery Conference,


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 1             Notice Information Sheet
 2             Bankruptcy Dispute Resolution Program Information Sheet.
 3
 4          I declare under penalty of perjury that the foregoing is true and correct and that this
 5   Declaration was executed at Oakland, California.
 6    Dated:    April 24, 2018                           /s/ Andrew Christensen
 7                                                       Andrew Christensen
                                                         Attorney for Plaintiff
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 9
10   Cathleen Cooper Moran
     Moran Law Group, Inc.
11   1674 N Shoreline Blvd. #140
     Mountain View, CA 94043-1375
12   (650) 694-4700
     Email: ecf@moranlaw.net
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